Robert Leslie Bowlin, Petitioner, v. Commissioner of Internal Revenue, Respondent.  Ann W. Bowlin, Petitioner, v. Commissioner of Internal Revenue, RespondentBowlin v. Comm'rDocket Nos. 55571, 65486United States Tax Court31 T.C. 188; 1958 U.S. Tax Ct. LEXIS 48; October 27, 1958, Filed *48 Decisions will be entered for the respondent.  1. Petitioner Robert Leslie Bowlin, for each of the years 1942 through 1947, failed to report substantial portions of his income in the returns filed by him, and his books and records are wholly inadequate for the determination of and do not reflect his income for those years.  Held, that his returns were false and fraudulent with intent to evade tax, and the statute of limitations has not run for the years in question.  Held, further, that the petitioners have failed to show error in the deficiencies for the said years as determined by the respondent, and that a part of the deficiency for each of the said years was due to fraud with intent to evade tax.2. After the investigation of Bowlin's income tax liability by respondent's agents had been made, Bowlin made transfers of property, including all of the incidents of ownership in certain insurance policies on his life, to his wife, Ann W. Bowlin, which transfers rendered him insolvent. Held, that petitioner Ann W. Bowlin is liable, as transferee, for the deficiencies in income tax and additions to tax for fraud determined against Robert Leslie Bowlin for each of the years*49  1942 through 1947.  Ward Hudgins, Esq., and Richard H. Frank, Jr., Esq., for the petitioners.James R. Harper, Esq., for the respondent.  Turner, Judge.  TURNER *189  In Docket No. 55571, the respondent determined deficiencies in income tax and additions to tax for fraud against petitioner Robert Leslie Bowlin, as follows:Addition to taxYearDeficiencySec. 293(b)1942$ 725.64$ 362.8219431 2,402.831,201.4219444,449.682,224.8419457,965.703,982.8519465,076.862,538.4319474,027.082,013.54*50 In Docket No. 65486, the respondent determined transferee liability against petitioner Ann W. Bowlin for the above deficiencies in income tax and additions to tax.The questions for determination are: (1) Whether the statute of limitations has run for the taxable years 1942 through 1947; (2) whether the respondent erred in his determination of deficiencies in income tax against petitioner Robert Leslie Bowlin for the years 1942 through 1947; (3) whether petitioner Robert Leslie Bowlin is liable for additions to tax for fraud, under section 293 (b) of the Internal Revenue Code of 1939, for each of the said years; and (4) whether petitioner Ann W. Bowlin is liable, as transferee, for deficiencies in income tax and additions thereto due from Robert Leslie Bowlin for such years.FINDINGS OF FACT.Some of the facts have been stipulated and are found as stipulated.The petitioners are husband and wife, and are residents of Memphis, Tennessee.  Robert Leslie Bowlin filed individual income tax returns for the years involved with the collector of internal revenue for the district of Tennessee.Robert Leslie Bowlin, hereafter referred to as Bowlin, was a practicing*51  physician in Memphis.  He had offices in the Exchange Building.  They consisted of a reception room, a room used for examining and treating patients, and an office.  All of the rooms were small, and economically maintained.  He had no medical assistant.  He employed a woman who acted as receptionist and did odd jobs, including some bookkeeping.In the latter part of 1948, a special agent, in association with a revenue agent of the Internal Revenue Bureau, began an investigation of Bowlin's books and records, covering the years 1942 through 1947.  The investigation was completed in 1950.  The books and records *190  examined were a large transfer binder, containing closed or old patient ledger cards, a binder containing current patient ledger cards, canceled checks and bank statements.  The agents were advised by Bowlin and his employee that all records had been made available to them.The agents transcribed from the patient ledger cards all credits that had been entered thereon during the period 1942 through 1947, listing, by years, each individual payment according to the date received.  It was found that except for 1942 the total ledger figures for each of the years were less*52  than the gross receipts reported on Bowlin's returns.Bowlin reported gross income, deductions, net income, and income tax due on his returns for the years in question, as follows:194219431944Gross income:Compensation for personal services$ 5,992.85$ 8,564.55$ 10,101.06Interest12.14Total6,004.998,564.5510,101.06Deductions:Contributions82.50203.50338.00Taxes895.78251.87258.66Business expenses2,758.103,911.583,656.68Total3,736.384,366.954,253.34Net income2,268.614,197.605,847.72Income tax reported122.92636.79856.93194519461947Gross income:Compensation for personal services$ 11,876.43$ 11,736.56$ 10,970.75InterestTotal11,876.4311,736.5610,970.75Deductions:Contributions429.00358.00426.00Taxes205.48230.60218.50Business expenses4,342.173,943.563,610.18Total4,976.654,532.164,254.68Net income6,899.787,204.406,716.07Income tax reported1,135.941,095.48974.87On his returns for each of the years herein, Bowlin claimed a dependency exemption credit for his wife, Ann.Bowlin maintained an individual*53  checking account at the National Bank of Commerce in Memphis, which was also used as a business checking account. All canceled checks for the years under investigation were obtained and listed by the agents.  They also found all but two of the deposit slips for the period.Bowlin usually prepared his own deposit slips, listing the amount of each individual check deposited.  During the years 1942 and 1943 currency was shown on some of the deposit slips, but no currency was shown on any of the deposit slips for the years 1944, 1945, 1946, and 1947.The items on the deposit slips could not be identified by name, but the agents compared the individual amounts of the checks deposited with those shown on Bowlin's records.  Where amounts as shown on the deposit slips could not be found at the approximate dates on the records, they were considered payments received but not recorded by Bowlin.The totals of the checks that appeared on the deposit slips and could not be traced on Bowlin's records, are as follows: *191 YearAmount1942$ 614.2819432,897.5919443,191.3919455,643.2819461,980.7419473,532.16The agents found substantial disbursements of currency which*54  could not be traced from the bank account and which did not appear on Bowlin's records.  Bowlin's bank deposits, plus his currency expenditures, were greatly in excess of his income as shown by his returns and by his books and records.Bowlin's gross receipts as reported on his returns, the gross receipts as shown by his books, and the deposits he made in his checking account, properly adjusted for items of deposit which did not clear the bank, for the years 1942 through 1947, and the bank balance at the end of each of the years 1941 through 1947, were as follows:GrossGrossDeposits NationalBankYearreceiptsreceiptsBankbalancereportedper booksof CommerceDecember 311941$ 667.351942$ 5,992.85$ 6,052.30$ 3,042.48381.4419438,564.557,473.975,095.341,943.17194410,101.069,643.106,010.403,088.03194511,876.439,136.717,875.123,619.50194611,736.5610,900.074,904.241,871.26194710,970.759,142.506,117.66804.19A report from the National Bank of Commerce to the Federal Reserve Bank for the district in which the National Bank of Commerce is located disclosed a currency transaction between the said*55  bank and Bowlin in the amount of $ 7,000, on July 31, 1945.  Pursuant to the requirements of the Federal Reserve Bank, banks were required to report currency transactions involving bills of large denominations, and a transaction covered by such a report would represent either a deposit or withdrawal of currency, or an exchange of currency for other currency. Taking into account the amount of the transaction, namely, $ 7,000, the balance in Bowlin's account with the National Bank of Commerce at December 31, 1944, the deposits in the account during 1945, the balance in the account at December 31, 1945, and the withdrawals from the account during the year for other purposes, as shown by the record herein, the currency transaction of July 31, 1945, was neither a deposit nor a withdrawal, but would have to have been an exchange.On December 31, 1955, Bowlin's bank balance in his checking account at the National Bank of Commerce was $ 662.37.On September 16, 1948, Bowlin opened a checking account with the Union Planters Bank in Memphis, and at the end of each of the years 1952 and 1953 the balance in the account was $ 506.  This account was closed November 15, 1954.*192  Bowlin maintained*56  a savings account, No. X5082, at the First National Bank of Memphis, which account had balances at the end of the years 1941 through 1947 as follows:December 31Bank balance1941$ 961.181942975.721943985.491944194519461947Ann W. Bowlin maintained a savings account, No. X4512, at the First National Bank of Memphis during the years 1943 through 1947.  The deposits in the account during each year and the balance in the account at the end of each year, were as follows:BankbalanceDecemberYearDeposits311943$ 247.00$ 225.001944124.00251.071945100.00353.44194660.14417.04194790.00511.50During the year 1945 a savings account, No. XXXX, was opened at the Union Planters Bank in the name of "Mrs. R. L. Bowlin," and in that year two separate deposits in the aggregate amount of $ 500 were made in the account.  The balance in the account at December 31, 1945, was $ 502.22, and on July 31, 1946, the entire balance, which was then $ 504.73, was withdrawn.  No deposits were made in the account during 1946 and 1947, and the account had no balance at December 31, 1946, or 1947.During 1945, Ann also had a checking account at*57  the Union Planters Bank, under the name of "Mrs. R. L. Bowlin." During that year four deposits were made in the account in the total amount of $ 920.68.On November 9, 1951, Ann opened a savings and loan account with the Leader Federal Savings &amp; Loan Association of Memphis, under the name of "Mrs. R. L. Bowlin." At the end of each of the years 1952 through 1955, the account had the following balances:December 31Bank balance1952$ 3,988.2119535,073.2519546,004.3219557,212.80An installment investment contract was issued on March 10, 1936, in the name of Ann W. Bowlin, by the Investors Syndicate of Minneapolis, Minnesota.  The contract called for payments of $ 5.25 monthly, $ 15.50 quarterly, $ 30.50 semiannually, or $ 60 annually, for a period of 15 years, and had a maturity value of $ 1,250.  By the end of 1941, an aggregate amount of $ 352.25 had been paid on the contract.  During the years 1942 through 1947, Bowlin had paid *193  the following amounts on the contract, by checks drawn on his personal checking account:DateAmountMay 6, 1942$ 30.50Nov. 12, 194260.00Dec. 6, 194360.00Dec. 20, 194460.00Dec. 19, 194560.00Dec. 14, 194660.00*58  Nothing was paid on the contract in 1947, but $ 60 was paid on it in 1948.The following schedule, taken from the records of the Bureau of the Public Debt of the United States Treasury Department, is a list of United States War Bonds, Series E, showing to whom they were issued, their dates of issue, the issuing agents, their denominations, and the dates they were cashed (the serial numbers being omitted):InscriptionIssue dateIssuing agent 1DenominationDate ofpaymentMrs. Robt. L.BowlinMay 1942The John Gerber Co.$ 25May 25, 1944816 AvalonMemphis,TennesseePayable ondeath toMrs. Jno. W.QuenichetPine Bluff,Arkansaw [sic]Dr. Robert L.BowlinSept. 1942Union Planters25May 18, 1953or Mrs. AnnNational Bank &amp;BowlinTrust Co.816 AvalonMemphis,TennesseeDec. 1942National Bank ofCommerce500Sept. 9, 1952500500500100100100100100100100100100100500500500500[Robert or Ann] 2May 1943National Bank ofCommerce50Sept. 9, 19521001005001,000Sept. 6, 19521,0001,0001,000Sept. 1943Union PlantersNational Bank &amp;50Sept. 9, 1952Trust Co.100100[Ann or Robert] 2National Bank ofCommerce1,0001,0001,0001,0001,000Sept. 6, 1952[Robert or Ann 2Jan. 19441,0001,0001,0001,000Union PlantersNational Bank &amp;Trust Co.1,000[Ann or Robert] 2June 19441,000July 2, 1952July 1944First Natl. Bank ofDec. 1944Memphis Union1,000Planters National1,000Bank &amp; Trust Co.1,0001,000[Robert or Ann] 2June 1945First Natl. Bank ofMemphis1,000July 2, 19531,0001,0001,0001,000Mrs. Oburn B.QuenichetNov. 1945Union Plantersor Mrs. Ann W.National50Dec. 19, 1950BowlinBank &amp; Trust Co.6832 StevensCleveland StreetDallas, TexasBranch[Ann or Robert] 2Dec. 1945First Natl. Bankof Memphis1,000July 2, 19531,0001,0001,0001,000Mrs. Oburn B.QuenichetJan. 1946Union Planters6832 StevensNational25Dec. 19, 1950Dallas, TexasBank &amp; Trust Co.or Mrs. Ann W.Cleveland StreetBowlinBranch816 AvalonMemphis,TennesseeJuly 19465001005025Oct. 194625100100100*59 *194  The agents found only two amounts used in the purchase of the bonds above which were traceable to any of the foregoing bank accounts.  One check in the amount of $ 375, dated December 31, 1942, was drawn on Bowlin's account at the National Bank of Commerce.  With respect to the other item, the records of the Bureau of the Public Debt disclosed the purchase, during July 1946, of war bonds costing $ 506.25, and finding that $ 504.73 had been withdrawn from Ann's savings account, No. XXXX, at the Union Planters Bank under date of July 31, 1946, it was assumed that the said withdrawal was applied to the July purchase of bonds costing $ 506.25.The agents computed the expenditures for bonds out of currency on the basis of the cost of the bonds being 75 per cent of the face value, as follows:YearTotal faceTotal costLess amountPaid by cashamountpaid by check1942$ 5,050$ 3,787.50$ 375.00$ 3,412.50194310,0007,500.007,500.00194410,0007,500.007,500.00194510,0507,537.507,537.5019461,025768.75504.73264.02Totals36,12527,093.75879.7326,214.02*60  During the years involved, Bowlin made payments by check on insurance premiums to the following companies, as follows: *195 Company194219431944Massachusetts Protection Association$ 33.00$ 130.30$ 120.28Pacific Mutual Life Insurance Company141.00141.00141.00Central Life Assurance Company22.2634.6234.54Commercial Casualty Company75.0075.0075.00Mutual Life Insurance Company of NewYork20.99283.28Mutual Benefit Life &amp; Accident InsuranceCo98.00Company194519461947Massachusetts Protection Association$ 120.28$ 120.28$ 120.28Pacific Mutual Life Insurance Company141.00141.00141.00Central Life Assurance Company34.46Commercial Casualty Company74.0074.0074.00Mutual Life Insurance Company of NewYorkMutual Benefit Life &amp; Accident InsuranceCoAt all times material herein, Pan-American Life Insurance Company, New Orleans, Louisiana, had 11 life insurance policies in effect upon Bowlin's life.  Clyde Berryhill had been the company's branch manager in Memphis for a number of years prior to his death on November 11, 1956.  When he moved to Memphis in 1930 or 1931, Bowlin was the*61  medical examiner for the company.  He sold Bowlin some insurance as early as 1932.  He made additional sales to Bowlin during the years 1942 through 1947.  Bowlin paid some of the premiums by check, but usually paid discounted premiums by cash.  Berryhill deposited the payments received in the personal joint checking account maintained by him and his wife at the Commercial &amp; Industrial Bank in Memphis.  He would then issue a check to the company for the amount due it.  If Berryhill was entitled to any commissions, they were deducted.  He was not entitled to any commission on payments of discounted premiums, his commissions being based on first annual or annual premiums.The following schedule shows the policy number of each policy Bowlin carried with the Pan-American Life Insurance Company on his life, the amount of the individual payments on premiums and the date paid, for the years 1942 through 1947:Number ofannual premiumsAmount paidDate paidpaid$ 84.22Apr. 31, 19421Policy No. 231-21684.22May 10, 19431618.93Apr. 15, 1944884.22Apr. 13, 19421Policy No. 231-21784.22May 10, 19431618.93Apr. 15, 1944884.22Apr. 13, 19421Policy No. 231-21884.22May 10, 19431618.93Apr. 15, 19448190.28May 19, 19441Policy No. 386-9182,305.81Mar. 29, 194514190.28June 4, 19441Policy No. 388-2892,269.19June 12, 194414190.28June 12, 19441Policy No. 388-3392,269.19June 12, 1944141,028.80Apr.  3, 19451Policy No. 398-4714,899.15Mar. 22, 194656,898.10Apr. 14, 19478Policy No. 398-4726,168.20Apr.  3, 1945Paid up1,028.80May 15, 19451Policy No. 400-1124,899.15Mar. 22, 19465514.40May 15, 19451Policy No. 400-1135,835.87Apr.  9, 1946131,347.40Dec. 26, 19471Policy No. 445-0376,260.02Dec. 31, 19475*62 *196   The total premiums paid on the above insurance policies in each of the said years were in the following amounts:YearAmount1942$ 252.661943252.6619446,966.01194511,046.01194615,634.17194714,505.52Bowlin paid cash on some of the above insurance premiums in the following amounts:YearAmount194219431944$ 4,921.3819459,502.81194615,634.17194714,505.52Bowlin also carried an insurance policy with the Pan-American Life Insurance Company on the life of Cleo S. Moulsher, and during the years 1942 through 1947 issued checks in payment of the premiums as follows:Date of checkAmountPayeeOct. 26, 1942$ 7.33Pan-American Life Insurance Co.Mar. 6, 194340.59Clyde BerryhillJan. 14, 194435.25Pan-American Life Insurance Co.Apr. 20, 194527.92Pan-American Life Insurance Co.Mar. 13, 194627.92Pan-American Life Insurance Co.Mar. 24, 194727.92Pan-American Life Insurance Co.Payments made by Bowlin for life insurance and war bonds, either in currency or by check, compared to his reported net income, for the years 1942 through 1947, are as follows:Reported netInsurance premiumsU.S. warYearincomepaidbondspurchased1942$ 2,268.61$ 531.25$ 3,787.5019434,197.60793.167,500.0019445,847.727,655.367,500.0019456,899.7811,443.677,537.5019467,204.4015,997.37768.7519476,716.0714,868.72Total33,134.1851,289.5327,093.75*63 *197   In 1941, Bowlin acquired a two-door Ford automobile at a cost of $ 935, and a two-door Chevrolet sedan for $ 886.10.  On April 6, 1946, he traded the 1941 Ford for a 1946 Ford sedan which cost $ 1,210, paying a difference of $ 421.56 by check.  Bowlin obtained no license for the 1941 Chevrolet after 1945.On November 20, 1946, Bowlin purchased a 1946 Pontiac Streamliner 6 sedan coupe for $ 1,751.04 "cash on delivery."At a conference with the agents in his office, Bowlin estimated that prior to 1946, his household furniture was worth around $ 4,000.  In 1946 and 1947, he made additions to the furniture in his residence by the purchase of certain articles from an appliance dealer, for which he issued checks in the following amounts: October 30, 1946, $ 157; April 26, 1947, $ 100 and $ 259.50; July 28, 1947, $ 100; and August 21, 1947, $ 262.05.At the same conference, Bowlin also estimated that his office furniture and fixtures were worth about $ 800, prior to 1946.  During 1947 he issued checks for additional office furniture and fixtures in the following amounts: January 4, 1947, $ 250.85; January 28, 1947, $ 100; and April 7, 1947, $ 190.The following is an analysis of*64  ad valorem, realty, and personal taxes, including automobile licenses, Bowlin claimed on his returns and paid by check or cash during the years 1942 through 1947:YearTaxes claimedTaxes paid byTaxes paid byon returnscheckcash1942$ 331.33$ 221.05$ 110.281943243.27180.5262.751944258.63176.1882.481945205.48165.0740.411946214.97162.9052.071947200.50165.1835.32The following is a similar analysis of contributions claimed by Bowlin on his returns and paid by check or cash:ContributionsContributionsContributionsYearclaimed onpaid by checkpaid by cashreturns1942$ 82.50$ 82.501943203.50$ 33.00170.501944338.0075.00263.001945429.00263.50165.501946358.0088.00270.001947426.00144.00282.00The following is an analysis of the business expense claimed by Bowlin on his returns and paid by check or currency:YearClaimed onPaid by checkPaid by currencyreturns1942$ 2,758.10$ 454.94$ 2,303.1619433,911.58758.603,152.9819443,656.68678.372,978.3119454,342.171,508.492,833.6819463,943.561,822.932,120.6319473,610.182,296.041,314.14*65 *198   Bowlin's records failed to show the names of certain patients he attended in local hospitals.  During the years 1942 through 1947, he attended 662 patients in three Memphis hospitals, but the names of only 271 appeared on his records.  A summary of the cases on the hospital records and on Bowlin's records is as follows:Cases per hospital recordsYearMethodistSt.BaptistTotalJosephs1942205373194372501221944101311321945134132149194660238319476835103Total4552052662Cases per Bowlin's recordsYearOmittedMethodistSt.BaptistTotalJosephs194211283934194335185369194442135577194538543106194636104637194725103568Total18784271391During the years 1942 through 1947, Bowlin maintained a safe-deposit box, No. 3349, at the First National Bank.  According to the records of the bank, Bowlin entered the box on the following dates during that period:YearDates1942April 14 and December 301944January 271945July 311946April 2 and June 151947March 3*66  On January 21, 1949, the special agent obtained permission to enter the lock box, and on January 28, 1949, he inventoried its contents.  At that time it contained, among other things, $ 5,000 in currency.At a conference with Bowlin on January 5, 1950, the agents tried to ascertain what funds, if any, and also any liabilities he had at the beginning of the year 1942.  They did not discuss his actual tax liabilities with him, and after Bowlin employed counsel in 1950, the agents dealt with his attorneys.  The only liabilities the agents found were in some checks that were outstanding, amounting to $ 44.94.Later in 1950, they received from Bowlin's counsel an undated statement Bowlin made with respect to his lock box, which statement was as follows:After considering the matter carefully I am able to state positively that I had approximately the sum of $ 5,000.00 in my lock box in 1942.  Some years previous to that I started putting money in a lock box from a fund of $ 1200.00 which I collected as a result of an automobile accident and I added to this amount from time to time by small amounts that I was able to save, or that I acquired through various means.  The result was that my*67  lock box in 1942 was not entirely empty, but contained about $ 5,000.00.  I cannot state this exact amount, nor can I give *199  you a full history of this whole sum, inasmuch as it was accumulated over a period of some ten or twelve years.This statement is made at the request of the Intelligence Unit of the Bureau of Internal Revenue, and is the best estimate that I am able to make.Prior to October 11, 1954, all of the incidents of ownership in the insurance policies on Bowlin's life with the Pan-American Life Insurance Company were owned by Bowlin.  On October 11, 1954, at the request of Bowlin, all of the incidents of ownership in those insurance policies were transferred to Bowlin's wife, petitioner Ann W. Bowlin.The transfers were made without consideration.The following schedule sets out the face amount of the policies, the cash surrender value of each policy when transferred, and the outstanding loan on each insurance contract when transferred:Date transferredFace amountCash surrenderLoan on insurancePolicy No.of policyvalue whenwhentransferredtransferred231-216Oct. 11, 1954$ 2,000$ 2,161.46(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;231-217Oct. 11, 19542,0002,161.46(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;231-218Oct. 11, 19542,0002,161.46(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;386-918Oct. 11, 19542,0001,992.00(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;388-289Oct. 11, 19542,0001,992.00(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;388-339Oct. 11, 19542,0001,992.00(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;398-471Oct. 11, 195410,0009,670.00(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;398-472Oct. 11, 195410,0006,540.00$ 5,292.87400-112Oct. 11, 195410,0009,670.001,094.44400-113Oct. 11, 19545,0004,835.00(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;445-037Oct. 11, 195410,0008,480.00(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Total51,655.386,387.31*68 At the time the incidents of ownership were transferred to Ann Bowlin, premiums had been paid in advance on the following policies in amounts as follows:Policy No.Amount386-918$ 728.71388-289728.71388-339728.71398-4713,947.74400-1131,970.008,103.87On December 20, 1954, at the request of Ann, the Pan-American Life Insurance Company issued a check to her for the advance premiums in the amount of $ 8,103.87.On the same date, December 20, 1954, Ann negotiated loans on the various life insurance policies with the Pan-American Life Insurance Company.  The following schedule shows the policies and the amounts of the loan proceeds paid to her: *200 Policy No.Loan proceeds231-216$ 2,124.00231-2172,124.00213-2182,124.00386-9181,957.47388-2891,957.47388-3391,957.47398-4719,553.96398-4721,228.21400-1128,426.91400-1134,751.19445-0379,462.0745,666.75On April 29, 1936, at a cost of $ 4,500, Bowlin acquired a piece of real estate located at 816 Avalon Street in Memphis, which has been the home of the petitioners up to the present time.  On April 21, 1949, he made a transfer of an interest in the*69  property to his wife so as to create a tenancy by the entirety.In 1940 the petitioners, by quitclaim deed executed by Ann's mother, Lizzie Wadley, and other members of the Wadley family, acquired a residence at 887 North 7th Street in Memphis.  The recited consideration was "the sum of Ten ($ 10.00) Dollars, and other good and valuable consideration." On his returns for 1944 through 1947, Bowlin claimed his mother-in-law, Lizzie Wadley, as a dependent, and on his 1944 and 1945 returns, he claimed Clara Wadley, his sister-in-law, as a dependent.On November 21, 1953, Bowlin transferred his interests in both of the above properties to his wife through one warranty deed, the consideration being recited as "Ten ($ 10.00) Dollars, love and affection, and other good and valuable consideration, and as a gift." At the time of the transfer, the property at 816 Avalon Street had a fair market value of $ 11,000, and the property at 887 North 7th Street, $ 6,500.  There was no adequate consideration for the transfer of these properties.Bowlin became insolvent and unable to pay his debts as a result of making the transfers of his interests in the real properties and the insurance policies on*70  his life.  His assets and liabilities, including the deficiencies in income tax and additions to tax involved herein, on November 1, 1954, were as follows:Fair marketAssets:valueCash$ 1,082.82Accounts receivable8,412.11Notes receivable50.00Furniture and fixtures2,000.00Total assets$ 11,544.93Liabilities:Loans on insurance6,387.31Income tax liabilities -- including additions totax -- 1942-194736,971.69Total liabilities43,359.00Excess of liabilities over assets31,814.07*201  Beginning with the year 1924 and extending to the first taxable year herein, Bowlin paid income taxes as follows:19241926192819291941Income tax$ 7.631 $ 1.23$ 2.14$ 1.72$ 12.14During the other years in that period, he paid no tax and none was assessed.Bowlin's books and records being wholly inadequate to reflect income clearly, the respondent made a computation in accordance with a method which in his opinion clearly reflected Bowlin's income.  His computation was based on bank deposits and currency expenditures, and he determined Bowlin's unreported *71  income for the years 1942 through 1947, as follows:194219431944Gross receipts deposited inbank$ 3,042.48$ 5,342.34$ 6,134.40Gross receipts not deposited:Currency expenditures for --U.S. war bonds3,412.507,500.007,500.00Life insurance premiums4,921.38Automobile purchasedBusiness expenses2,303.163,152.982,978.31Contributions82.50170.50263.00Taxes paid110.2862.7582.48Personal items8.60Total gross receiptscorrected8,950.9216,237.1721,879.57Gross receipts reported5,992.858,564.5510,101.06Unreported income2,958.077,672.6211,778.51194519461947Gross receipts deposited inbank$ 9,395.80$ 4,964.38$ 6,207.66Gross receipts not deposited:Currency expenditures for --U.S. war bonds7,537.50264.02Life insurance premiums9,502.8115,634.1714,505.52Automobile purchased1,751.04Business expenses2,833.682,120.631,314.14Contributions165.50270.00282.00Taxes paid40.4152.7035.32Personal items15.0018.00Total gross receiptscorrected29,475.7025,071.9422,362.64Gross receipts reported11,876.4311,736.5610,970.75Unreported income17,599.2713,335.3811,391.89*72  On September 10, 11, 12, and 15, 1952, Bowlin was criminally prosecuted for violation of section 145 (b) of the Internal Revenue Code of 1939, for some of the taxable years herein, in the United States District Court for the Middle District of Tennessee, Nashville Division, which resulted in a mistrial.  He was similarly tried in the same court on January 14, 15, 16, and 19, 1953.  The result of that trial is not shown.The notice of deficiency was mailed to petitioner Robert Leslie Bowlin on September 24, 1954.  In his determination of deficiencies herein, the respondent took into consideration the report of examination dated January 6, 1950, and the protest executed by Bowlin on November 27, 1953.Notice of transferee liability was mailed to petitioner Ann W. Bowlin on October 15, 1956.  The respondent had made jeopardy assessments of the deficiencies involved herein on October 5, 1956.For each of the taxable years 1942 through 1947, petitioner Robert Leslie Bowlin filed a false and fraudulent return with intent to evade tax.*202  A part of the deficiency determined against petitioner Robert Leslie Bowlin for each of the taxable years 1942 through 1947 is due to fraud with*73  intent to evade tax.Petitioner Robert Leslie Bowlin made transfers of real property and insurance contracts for the purpose of defrauding his creditors.Petitioner Ann W. Bowlin is liable as transferee of the assets of her husband, Robert Leslie Bowlin, for the full amount of the deficiencies in income tax and additions thereto for fraud due from him for the taxable years 1942 through 1947.OPINION.The respondent has determined deficiencies in income tax and additions thereto for fraud against petitioner Robert Leslie Bowlin for the years 1942 through 1947, and his determination of such deficiencies is presumptively correct.  The parties are agreed, however, that in the absence of proof that Bowlin's returns for the said years were false and fraudulent with intent to evade tax, the statute of limitations has run as to all years, and the burden of proving fraud is on the respondent.In their reply brief, the petitioners admit that Bowlin's books and records did not reflect all of the receipts from his medical practice and that they were inadequate for the determination of his taxable income.  They also admit that the income tax returns filed by him did not show his entire income. *74  Classifying Bowlin's underreporting of his income has "undeniable" negligence, they contend that the respondent has failed to meet his burden of proving that the returns were false and fraudulent with intent to evade tax.From the evidence of record and the facts shown thereby, we are convinced that Bowlin's returns for all of the years herein were false and fraudulent with intent to evade tax, and we have so found.Taking into account the expenditures from Bowlin's checking account for the taxable years, together with the insurance premiums admittedly paid in cash and not from the bank account, the items of expense claimed on his returns which were not traceable to the bank account, and the amounts expended for United States war bonds not traceable to either Bowlin's or Ann's bank account, there is an indicated total of expenditures for each of the years in question greatly in excess of reported gross income, and for each of the years 1944, 1945, 1946, and 1947, of more than twice the reported gross income, and for each of the last 3 such years, quite substantially more than twice the gross income reported.Furthermore, there can be no doubt, we think, that such indicated excess*75  of expenditures over reported gross income represented unreported *203  income in substantial part, if not in toto, as the respondent has determined.  In response to an inquiry by the special agent assigned to the case, made at a conference on January 5, 1950, as to whether Bowlin had any funds on hand at the beginning of 1942, it was Bowlin's best estimate, subsequently made in writing, that in 1942 he had about $ 5,000 in a lock box, which, beginning with $ 1,200 collected as a result of an automobile accident some years previously, had from time to time been saved in small amounts.  The evidence further shows that when opened in 1949, the lock box then contained $ 5,000 in currency. It would thus appear, and the petitioners, in effect, so acknowledge in their reply brief, that Bowlin did not draw the money to cover the very substantial expenditures in excess of reported gross income during the taxable years from any funds accumulated in prior years.  It is to be noted also that none of the returns reflect any sale or liquidation of property, from which such funds could have been derived.  Furthermore, the petitioners have both alleged, in verified petitions herein, that throughout*76  the period in question, income from the practice of medicine, plus "certain" interest and dividends, constituted Bowlin's sole source of income.  In that connection, it is to be noted that $ 12.14, reported in 1942, constituted the only item of interest reported for the taxable years, and that whatever the amount of dividends received, they were wholly unreported.When considered with other facts of record, it is of significance, we think, that for each of the years the unreported income is fully accounted for by nondeductible expenditures for United States war bonds and insurance premiums, considerable portions of the latter being premiums paid in advance, and that these expenditures were, except for negligible amounts, made in cash from income received in cash or, possibly to some extent, from the proceeds of checks which did not clear through Bowlin's bank account. Bond purchases increased from $ 3,787.50 in 1942, $ 3,412.50 of which was in currency, to $ 7,500 for 1943, all of which was in currency. Insurance premiums, on the other hand, were $ 531.25 for 1942, and $ 793.16 in 1943, all of which were paid by check.  In 1944, the bond purchases remained at $ 7,500, all of which*77  was in currency, whereas insurance premiums paid jumped to $ 7,655.36, of which $ 4,921.38 was in currency. On each of 3 policies, 8 annual premiums were paid, of which 7 were advance premiums, as compared with the payment of current premiums only in each of the 2 years preceding, while on 2 other policies 14 annual premiums were paid, in addition to the current premiums. For 1945, the expenditures for bonds were $ 7,537.50, all of which was in currency, while insurance premium payments increased to $ 11,443.67, of which $ 9,502.81 was in cash.  On 1 policy, 13 annual premiums *204  were paid in advance, in addition to the current premium, and by a payment of $ 6,168.20 1 policy became a paid-up policy.  For 1946, only $ 768.75 was expended for bonds, as against $ 15,997.37 for insurance premiums, only $ 363.20 of which was paid by check, and of the premiums so paid, 4 on 1 policy, 5 on another, and 12 on a third were advance premiums. For 1947, there were no bond purchases, as compared with the payment of $ 14,868.72 for insurance premiums, of which $ 14,505.52 was in currency.It is to be noted also, and is not without significance, we think, that as greater portions of Bowlin's*78  income bypassed his books and his income tax returns, similarly there were noticeable increases in the amounts of his currency transactions, which likewise were not reflected by his records, and that whereas his deposit slips for 1942 and 1943 indicated that he did make deposits of cash on occasions, no cash was included in any of his deposits in 1944, 1945, 1946, and 1947.Patently, the source of some substantial part of Bowlin's unreported income represented fees from patients treated by him in Memphis hospitals during the taxable years.  In fact, most of his hospital cases were never recorded on his books.  A check of the records of Memphis hospitals disclosed that for the years 1942 through 1947 Bowlin's hospitalized patients were 662 in number, 391, or approximately 59 per cent, of which do not appear in Bowlin's accounts.  Also, just as there had been a steady increase in Bowlin's income and in his non-deductible currency expenditures from a low in 1942 to a peak in 1945, there was a corresponding increase in the number of hospital patients. And particularly noticeable is the fact that there was a corresponding rise, from year to year, in the percentage of such patients which*79  were never carried by Bowlin into his accounts.  In 1942, 34 of 73, or 46.5 per cent, of Bowlin's hospital patients were omitted by him from his books.  Sixty-nine of 122, or 56.5 per cent, were omitted in 1943; 77 of 132, or 58.3 per cent, in 1944; and 106 of 149, or 71.1 per cent, in 1945.  In 1946, however, when the number of Bowlin's hospital patients dropped to 83, which was only 10 above the number for 1942, and the number omitted by him from his accounts was 37, the percentage of omissions was 44.75, and was likewise somewhat comparable to the percentage omitted for 1942.  But in 1947, when the number of such patients increased to 103, 68, or 66 per cent, were omitted by Bowlin from his books.On brief, petitioners seek to discount the facts with respect to hospital patients, with the contention that the respondent, who had the burden of proof, has not shown that any income was received from any of the patients omitted from Bowlin's books of account.  The argument, in our opinion, is without merit on its face.  It would be most unrealistic and incredible to believe and conclude that there was an *205  absence of income from 59 per cent, or 391 of 662, of Bowlin's hospital*80  patients during the taxable years, and that the lack of income from those patients was the reason for their omission from his accounts and records.It is argued for the petitioners that the respondent in his determination of Bowlin's income for the various years herein was in error in including the amounts deposited in the two savings accounts and the checking account of Ann Bowlin and in including the amounts represented by the expenditures for United States war bonds which were issued in the names of Bowlin and Ann Bowlin, especially those purchased "at Mrs. Bowlin's bank and clearly indicating her as primary payee with Doctor Bowlin as alternate payee," and that if these amounts be eliminated from the total income for the respective years as determined by the respondent, a substantially different picture is presented, so as to demonstrate error in the respondent's determination of fraud.A mere glance at the facts will disclose that the deposits in Ann Bowlin's two savings accounts and her checking account were so small that their inclusion or exclusion from consideration, insofar as the fraud determination is concerned, would be of no moment.  Neither is there any significance*81  in the fact that a goodly portion of the bond purchases were made at the First National Bank and the Union Planters Bank where, during all of the taxable years in one instance, and some of the taxable years in other instances, Ann had small amounts on deposit. As a matter of fact, most of the bonds purchased at the Union Planters Bank were purchased prior to 1945, which was the year in which Ann's two accounts in that bank were opened. Furthermore, Bowlin likewise had a savings account at the First National Bank, in which there were balances at the beginning of the years 1942, 1943, and 1944 which were at least three times greater than the balances on those dates in Ann's savings account at that bank.  But even in the case of those balances, they were so small as to be insignificant when related to the amounts of the bond purchases, and it is patent that the deposits in Ann's savings account at the First National Bank were in no way related to the bond purchases made.  In short, it is not the place of purchase, or even the identity of the person who physically made the purchase, which is significant, but the course of the funds used in making the purchase.  And with respect to Ann, *82  the evidence strongly indicates that she was without any substantial funds and had little, if any, income.  In fact, the record is persuasive that her income was limited to such small amounts of interest as might have accrued on her two small savings accounts.  Support for such a conclusion is to be found in the fact that Bowlin, on his income tax returns, claimed Ann as a dependent for all of the years herein, and in *206  the further fact that during the taxable years all payments on an investment contract in Ann's name with the Investors Syndicate of Minneapolis were made by checks drawn on Bowlin's personal checking account.In contrast, Bowlin, during the taxable years, did have a source for such income, and from such source he was earning income substantially in excess of that being reported by him.  And not without significance, we think, is the fact that the bond purchase program ran concurrently with the war years, reaching a level of $ 7,500 in 1943 and continuing at that level through 1945, whereas the buildup of the insurance program on a substantial scale, particularly the payment of advance premiums, began in 1944, increased very substantially in 1945, the year the*83  war ended, and was approximately doubled in 1946 and 1947, in the latter of which years it had wholly superseded the bond-buying program.  That the insurance premiums were paid by Bowlin and from his funds is a stipulated fact.  We are satisfied and convinced by the facts of record that most, if not all, of the bonds were purchased by Bowlin and out of his income, as the respondent has determined, but even if on some occasions Ann might from some undisclosed source have supplied funds for a bond, the picture as to fraud on the part of Bowlin would not, in our opinion, be changed.As indicating that Bowlin's failure to report all of his income was due to negligence, not fraud, counsel for petitioners, on brief, strongly rely on Wiseley v. Commissioner, 185 F. 2d 263, the tenor of the argument being that "[as] is well known to everyone," there was a shortage of doctors in the war years, and the available doctors were compelled to work long hours and to care for an unusually large number of patients; that Bowlin's "office was sparsely furnished, and staffed solely by a woman employee who did odd jobs, kept the books, and acted as receptionist"; and *84  that "[the] entire picture painted by the record is that of a harried physician attempting to minister to those who needed him to the neglect of his books and records."A major difficulty with that contention is that petitioners' counsel seek to apply to the record in this case evidence which was of record in the Wiseley case but which is wholly absent from the record here.  The record does show that Bowlin's office was not an elaborate one and that he had only the one employee, and we not only do not doubt, but accept as true, that during the war years the number of patients attended by Bowlin increased substantially over the number of such patients in the years preceding, but unlike the record in the Wiseley case, wherein the picture painted by the evidence was that of a "harried physician attempting to minister to those who needed him to the neglect of his books and records," the record here is wholly devoid of any evidence to that effect, or to the effect that increase in the *207  number of patients attended by Bowlin had anything to do with his substantial underreporting of his income.  Both of the petitioners in the instant case were present throughout the trial, *85  but neither took the stand to testify in refutation of any part of the respondent's determination, or in refutation or explanation of the facts which are shown of record, and which have been found as above set forth.  Facts which are of record are not overcome or refuted by argument for which there is of record no factual basis, and this is all the more evident in a case where any such explanatory or refuting facts would particularly be within the possession and knowledge of the party making the argument.  See in that connection Katz v. Commissioner, 188 F. 2d 957, and Cohen v. Commissioner, 176 F. 2d 394, affirming 9 T.C. 1156"&gt;9 T. C. 1156.After considering the evidence and the facts shown thereby, including the comparatively very substantial amounts of income which bypassed both Bowlin's books and records and his income tax returns, the very large portions of his income received in cash or by checks which did not clear through his bank account, the substantial portions of his expenditures which were made in currency from such income and not recorded on any of his records, and the practice, after*86  the first 2 taxable years, of withholding all cash from his bank account, the deposit slips for which were all prepared by him, the pattern of his nondeductible expenditures in the form of investments in bonds up through the war years and the prepayment of insurance premiums which reached large proportions as the war was drawing to a close and continued in comparable amounts through the remaining taxable years, and which in themselves for most of the taxable years exceeded his total reported income, we are convinced that Bowlin did most, if not all, of these things for the deliberate purpose of avoiding income tax and his income tax returns for all of the years before us, namely, 1942 through 1947, were false and fraudulent with intent to evade tax. We have so found, and so hold.  In reaching our conclusions as to fraud, we have given no weight to the criminal proceedings against Bowlin.As to the deficiencies in tax, the respondent's determination is presumptively correct, and the burden of proving error therein is on the petitioners.  In their briefs, the petitioners have, as indicated above, contended that the respondent erred in his determination of deficiencies in certain respects. *87  Not only is there an absence of proof to support or sustain those claims of error, but most of the various elements going to make up the deficiencies are admitted by the petitioners.  The respondent's determination of the deficiencies in tax for the years 1942 through 1947 is accordingly sustained.With respect to the additions to tax for fraud for the said years, what has been said above in determining that the returns filed were false and fraudulent with intent to evade tax, is equally applicable and *208  forceful in showing that a part of the deficiency determined by the respondent for each of taxable years is due to fraud with intent to evade tax. We have so found.The remaining question is whether petitioner Ann W. Bowlin is liable as transferee for the deficiencies in tax and additions thereto in question.The burden of proving transferee liability is on the respondent. Sec.  1119 (a), I. R. C. 1939.  He must show that there was a gratuitous transfer of assets from Bowlin to his wife and that Bowlin was either insolvent at the time of the transfer, or was rendered insolvent by such transfer. Mary Stoumen, 27 T. C. 1014, 1018. Respondent*88  must also show the value of the assets at the time they were transferred. R. E. Burdick, 24 B. T. A. 1297. Moreover, where it has been asserted that an addition to tax for fraud is due from the transferor, it is necessary for the respondent to prove that a part of the deficiency is due to fraud with intent to evade tax. What has been said with respect to fraud on the part of Bowlin is equally applicable here.A determination of the liability of Ann Bowlin as the transferee of Bowlin under Tennessee law is in turn a determination of her transferee liability here.  Commissioner v. Stern, 357 U.S. 39"&gt;357 U.S. 39.With respect to what constitutes a fraudulent conveyance sufficient to impose liability upon a transferee, Tennessee Code Annotated section 64-312 (1954) provides as follows:Conveyances by insolvent without fair consideration declared fraudulent.  Every conveyance made and every obligation incurred by a person who is or will be thereby rendered insolvent is fraudulent as to creditors without regard to his actual intent, if the conveyance is made or the obligation is incurred without a fair consideration.The Tennessee*89  Code further provides that assets of a debtor means property not exempt from liability for his debts; that a person is insolvent when the present fair salable value of his assets is less than the amount that will be required to pay his probable liability on his existing debts as they become absolute and matured; and that a defrauded creditor may disregard the conveyance and attach or levy execution upon the property conveyed.  Tenn. Code Ann. secs. 64-308, 64-309, and 64-317 (1954).The transferee-petitioner has not attempted to show that the deficiencies determined against her husband-transferor are not due from him.  In fact, she has offered no evidence, but relies on the argument that the respondent has failed to prove that she is liable as transferee.The evidence shows that after the investigation of Bowlin's income tax liability was begun and the examining agent had made his report on January 6, 1950, Bowlin started disposing of his assets.  In 1950, *209  Bowlin and Ann owned war bonds that had maturity values in the aggregate amount of $ 36,100, for which $ 27,075 had been paid.  In December 1950, 10 bonds, having a maturity value of $ 1,075, issued in the name of Ann *90  and a third party were cashed. The bonds had accrued interest over a period ranging from 3 to 5 years.  On September 6, 1952, 10 bonds issued to Bowlin and Ann, having a maturity value of $ 10,000, were cashed. Interest had accrued on these bonds over a period of 8 to 9 years.  Three days later, on September 9, 1952, 29 bonds issued to both Bowlin and Ann, and having a face value in the aggregate amount of $ 10,000, were cashed. Interest had accrued on these bonds over a period of 9 to 10 years.  In May 1953, a $ 25 bond which had been issued in both of their names in September 1942, was cashed. In July 1953, 15 of their bonds, having a total maturity value of $ 15,000, were cashed. Interest had accrued on these bonds over a period ranging from 7 1/2 to 9 years.  Thus, the entire $ 27,075 that had been put into the $ 36,100 face amount of bonds had been received back, plus the interest that had accrued thereon.  All of the bonds had been disposed of before Bowlin had executed his protest to the proposed deficiencies on November 27, 1953.  During their investigation of Bowlin's tax matters, the agents had discussed some matters with Bowlin, the last discussion having been on January*91  5, 1950.  It is noted that Bowlin was criminally prosecuted in September 1952, in a Federal District Court, for violation of section 145 (b) of the Internal Revenue Code of 1939, with respect to some of the tax years herein, and because of a mistrial, was again tried in the same court for the same offense in January 1953.  He was fully aware of the additional taxes he owed the Government when he conveyed his interests in the home property at 816 Avalon Street and the property at 887 North 7th Street to his wife on November 21, 1953.  At the time of the transfers the fair market value of the said properties was $ 11,000 and $ 6,500, respectively.Furthermore, on October 11, 1954, which was less than 3 weeks after the deficiency notice had been mailed to Bowlin on September 24, 1954, Bowlin transferred to his wife, without consideration, all of his incidents of ownership in his life insurance policies having cash surrender values in the net aggregate amount of $ 45,268.07.  At the time of their transfer, premiums had been paid in advance on some of the policies in the aggregate amount of $ 8,103.87.  The transfers resulted in Bowlin's becoming insolvent and being unable to pay his debts. *92  On November 1, 1954, Bowlin admitted to the Government that he was insolvent and unable to pay the deficiencies in income tax and additions thereto for fraud.  Adjustments made for income tax liability, including the addition to tax for fraud, are proper in determining insolvency, though the definite amounts may not be known *210  at the time of the transfers.  Vestal v. Commissioner, 152 F.2d 132"&gt;152 F. 2d 132; J. P. Quirk, 15 T.C. 709"&gt;15 T.C. 709, affirmed per curiam 196 F.2d 1022"&gt;196 F. 2d 1022.Under the Tennessee statute, when Bowlin made the transfers without consideration to his wife, he made fraudulent conveyances. Furthermore, it is significant that within a short time after the transfer of the insurance policies to her, she requested payment of the advance premiums in the amount of $ 8,103.87, and negotiated loans on the various insurance policies in the net aggregate amount of $ 45,666.75, receiving checks for the respective amounts from the company on December 20, 1954.  It thus appears that she was assisting in a plan to prevent the Government from reaching any assets of her husband in the satisfaction of his*93  tax obligations.  In Tennessee, when a grantee joins in a fraudulent conveyance, a creditor of the grantor may recover the value of the property fraudulently conveyed from the grantee.  Hartnett v. Doyle, 16 Tenn. App. 302"&gt;16 Tenn. App. 302, 64 S. W. 2d 227.Ann Bowlin contends that under the laws of Tennessee1 Bowlin's life insurance policies, including the cash surrender values thereof, were not property which would be reached by the creditors of the insured.*94 In support of that contention, she cites and relies on Stern v. Commissioner, 242 F.2d 322"&gt;242 F. 2d 322, reversing a Memorandum Opinion of this Court, and Rowen v. Commissioner, 215 F.2d 641"&gt;215 F. 2d 641.After the filing of briefs herein, the Supreme Court of the United States affirmed the Circuit Court of Appeals in the Stern case, Commissioner v. Stern, supra, and on the same date, rendered its decision in a companion case, United States v. Bess, 357 U.S. 51"&gt;357 U.S. 51. In the Stern case, the Supreme Court applied the applicable Kentucky State law, and held that the widow-beneficiary was not liable as a transferee, because under the statute a beneficiary of a life insurance policy is not liable to the insured's creditors where the premiums had not been paid in fraud of creditors.In the Bess case, it was held that the insured did have rights in the policy cash surrender value which he could demand and receive during his lifetime and which he could borrow against, assign, or pledge, and under the facts of that case, the beneficiary of the life insurance policy was*95  liable for income taxes owed by the insured at the time of his death.*211  In both the Stern and Bess cases the transfers were made by the deaths of the insured, and there was no evidence indicating that the premiums were paid with intent to defraud creditors, or that the insured was insolvent at any time prior to their deaths.In the instant case, Bowlin made inter vivos transfers to his wife voluntarily, without consideration, and which not only rendered him insolvent, but were made with intent to hinder and defraud the Government.  On the facts here, the Tennessee statute with respect to fraudulent conveyances is, in our opinion, clearly applicable and decisive.  Bowlin's conveyances to his wife were fraudulent, and she thereby became liable as transferee, and we so hold.  The cash she received from the insurance policies alone was more than sufficient to pay the income tax deficiencies and the additions thereto as determined by the respondent.Decisions will be entered for the respondent.  Footnotes1. Income and Victory tax.↩1. All issuing agents were located in Memphis Tennessee.↩2. First names used for brevity.↩1. None.↩1. Includes interest of 15 cents.↩1. Tennessee Code, Annotated (1954) :Sec. 56-1110.  Life insurance or annuity for or assigned to wife or children or dependent relatives exempt from claims of creditors↩.  -- The net amount payable under any policy of life insurance or under any annuity contract upon the life of any person made for the benefit of, or assigned to, the wife and/or children, or dependent relatives of such persons, shall be exempt from all claims of the creditors of such person arising out of or based upon any obligation created after January 1, 1932, whether or not the right to change the named beneficiary is reserved by or permitted to such person.